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             In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                  (Filed: August 6, 2014)

* * * * * * * * * * * * * * *
MOHAMED EDOO and JULIET EDOO, *                   UNPUBLISHED
parents of J.E., a minor,                  *
                                           *      No. 13-302V
                Petitioners,               *
                                           *
v.                                         *      Special Master Dorsey
                                           *
SECRETARY OF HEALTH                        *      Attorneys’ Fees and Costs;
AND HUMAN SERVICES,                        *      Reasonable Amount Requested to which
                                           *      Respondent Does Not Object.
                Respondent.                *
                                           *
* * * * * * * * * * * * * * *
Walter Samuel Holland, W. Sam Holland, Esq., Miami, FL, for petitioners.
Linda Sara Renzi, U.S. Department of Justice, Washington, D.C., for respondent.

                       ATTORNEYS’ FEES AND COSTS DECISION 1

        On April 30, 2013, Mohamed Edoo and Juliet Edoo (“petitioners”), as the parents and
natural guardians of J.E., a minor, filed a petition pursuant to the National Vaccine Injury
Compensation Program (“the Act”). 2 42 U.S.C. §§300aa-1 to -34 (2006). Petitioners alleged
that J.E. sustained injuries, including Pervasive Development Disorder (PDD-NOS) and Acute
Disseminated Encephalomyelitis (ADEM), resulting from adverse effects of the DTP/HIB and
OPV vaccinations received on April 14, 1997, and the re-administered vaccination of DTP/HIB
vaccination received on July 7, 1997, both of which likely aggravated an ongoing neurological
condition and possibly an underlying mitochondrial dysfunction. On March 19, 2014, a decision

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  Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims'
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to redact medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be redacted from public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C. § 300aa.
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was entered dismissing the case for insufficient evidence and for failure to prosecute. Judgment
entered on that decision on April 21, 2014.

        On August 5, 2014, the parties filed a Stipulation of Facts Concerning Attorneys’ Fees
and Costs. According to the stipulation, the parties stipulate to a total award to petitioners of
attorneys’ fees and costs in the amount of $7,100.00. In accordance with General Order #9, the
parties represent that petitioners have not incurred costs in pursuit of their claim.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       in the form of a check jointly payable to petitioners and to petitioners’ attorney, Mr.
       W. Sam Holland, in the amount of $7,100.00. This amount represents all attorneys’
       fees and costs available under 42 U.S.C. § 300aa-15(e).

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.


       IT IS SO ORDERED.

                                             s/Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Special Master




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